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 1 Robert Tauler (SBN 241964)
   rtauler@taulersmith.com
 2 Tauler Smith LLP
   626 Wilshire Boulevard, Suite 510
 3 Los Angeles, California 90017
   Tel: (310) 590-3927
 4
   Attorneys for Plaintiff
 5 ENTTech Media Group LLC,
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10     ENTTECH MEDIA GROUP LLC                 Case No. 2:20-cv-06298-RGK (Ex)
11                  Plaintiff,                 Assigned to Hon. R. Gary Klausner
                                               Courtroom 2
12             v.
                                               PLAINTIFF ENTTECH MEDIA
13     OKULARITY, INC., et al.                 GROUP LLC, TAULER SMITH
                                               LLP, AND ROBERT TAULER,
14                  Defendants.                ESQ.’S RESPONSE TO ORDER TO
                                               SHOW CAUSE RE SANCTIONS
15                                             UNDER RULE 11(c)(3) OF THE
                                               FEDERAL RULES OF CIVIL
16                                             PROCEDURE [DKT. 54]
17                                             Hearing Date:     February 11, 2021
                                               Time:             9:00 a.m.
18                                             Place:            By videoconference
19                                             Hon. R. Gary Klausner
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 1            Plaintiff ENTTech Media Group LLC (“Plaintiff” or “ENTTech”) hereby submits
 2 its brief in response to the Order to Show Cause (Dkt. 74) with respect to Defendants Jon
 3 Nicolini (“Nicolini”), Okularity, Inc. (“Okularity”), BackridUSA, Inc. (“Backgrid”),
 4 Splash News and Picture Agency, LLC (“Splash”), and XPosure Photo Agency, Inc.
 5 (“Xposure”) 1 (collectively, “Defendants”).
 6                                             I.      OVERVIEW
 7            ENTTech’s allegations are not, as Defendants portray, about the simple
 8 reproduction of images by Plaintiff. Rather, ENTTech’s allegations stem from
 9 Defendants’ manipulation of the DMCA by using automated processes for the sole
10 purpose of disabling ENTTech’s Paper Magazine Instagram account. Defendants do this
11 only so that they can then demand exorbitant sums to restore ENTTech’s Instagram
12 account, which is a valuable asset for ENTTech, who is in the business of reporting on
13 popular culture news.
14            It is not disputed that Defendants transmitted more than thirty DMCA notices over
15 s span of less than a month using automated software. The complaints all allege that
16 Defendants did this without any fair use analysis, which has since been confirmed by
17 Nicolini himself who testified that the fair use statements made in Defendants DMCA
18 Notices were automatically generated and therefore identical in every respect.
19            The evidence also demonstrates that no investigation as to the allegedly infringing
20 images was ever undertaken by Nicolini, the so-called “copyright agent” of the
21 Clearinghouse Defendants, who testified that he “targeted” Paper Magazine using his
22 software for express purpose of finding photos similar to those in the Clearinghouse
23 Defendants’ database. No investigation was undertaken as to who actually owned the
24 photos (several were owned by companies other than the Clearinghouse Defendants) and
25 no investigation was done as to whether the images were licensed (or sublicensed) to
26 Paper Magazine.
27
     1
         All five defendants shall be referred to herein collectively as “Defendants.” Backrid, Splash News and
28 XPosure shall be referred to collectively as the “Clearinghouse Defendants.”
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 1         No analysis by Nicolini was needed to advance Defendants’ objective of disabling
 2 ENTTech’s Instagram account. The DMCA Notices automatically generated a demand
 3 “strongly urg[ing]” Instagram to take down ENTTech’s account. When asked why this
 4 demand was part of the software, Nicolini had no answer, but the truth is evident.
 5 Defendants demanded that the account be taken down before ever contacting ENTTech
 6 directly so that they could negotiate while holding ENTTech’s asset hostage. Defendants
 7 knew that they had the ability to give the asset back, and so they demanded over a
 8 million dollars initially to restore the account. The reality is that some of the images
 9 have zero value to Plaintiffs, because they don’t have the rights they have allegesd.
10 While other photos at issue have a value close to zero – this is according to the testimony
11 of Backgrid’s owner who haplessly suggested that a three year old paparazzi photo of
12 Rihanna could have obtained $2,500-$5,000 if it were licensed to Plaintiff (Exhibit I,
13 Ginsberg Depo at 53:24-54:).
14        The allegations in the Third Amended Complaint (the “TAC,” Dkt. 57) summarize
15 in more detail Defendants’ scheme, which was uncovered as a result of extensive
16 background research by ENTTech’s counsel Robert Tauler (“Tauler”) (with the
17 assistance of attorneys and paralegals at his law firm “Tauler Smith”) and direct
18 communication by Tauler with Nicolini, Chief Executive Officer of Defendant Okularity
19 who designed the software at issue. In total, Tauler Smith spent more than 58.30 hours
20 researching the facts of this case, including Defendants’ past pattern and practices, as
21 well as researching the legal basis for the original complaint. As demonstrated below,
22 the facts uncovered before filing the original complaint far exceed the requirements of
23 Rule 11.
24        The underlying facts were confirmed during the December 28, 2020 deposition of
25 Nicolini, which focused only on his sworn declaration in support of Defendants Motion
26 for Rule 11 sanctions that stated he and he alone conducted a fair use analysis of all
27 images subject to the DMCA Notices (Dkt. 39-7). Contrary to the implications of his
28 declaration, Nicolini displayed a thorough lack of understanding of copyright fair use.
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 1 Nicolini did not know the various elements of fair use and did not understand various
 2 factors courts consider for the simple reason that he stated he doesn’t read, let alone
 3 apply, any cases dealing with fair use. Nicolini’s testimony by itself, detailed below,
 4 provides ample support for the allegations in the TAC.
 5        There is no objectively reasonable factual basis to invoke Rule 11 or any of the
 6 alternative grounds cited by Defendants. Rather, the only sanctions warranted are the
 7 attorney’s fees that ought to be awarded to ENTTech as the “prevailing party,” under
 8 Rule 11(c)(2) – because, the Defendants’ requests for sanctions are themselves
 9 objectively frivolous, and brought in bad faith. Largely, this is because Defendants and
10 their counsel knew, or should have known, that they failed to conduct the investigation
11 demanded when filing a motion, particularly a motion that calls into question the
12 integrity of opposing counsel. Defendants motion is objectively unreasonable, and as
13 such it should be denied. Moreover, the Court should award Plaintiff its attorneys’ fees
14 under Rule 11(c)(2).
15                                        II.    FACTS
16     A. Okularity’s Actions and Mr. Tauler’s Background Investigation
17        As alleged in the TAC, on July 8, 2020, ENTTech discovered their Instagram
18 account was disabled. That was when Instagram notified ENTTech that it was being
19 treated as a repeat copyright infringer under Instagram’s policy, solely because Okularity,
20 through Nicolini, had issued a barrage of DMCA notices. TAC, ¶¶ 22, 29, 39. Each
21 DMCA Notice contained the following statement:
22        PLEASE NOTE we've already sent [___] takedown notifications for the
23        account in question: papermagazine. The Instagram Terms of Use clearly
24        state: "If you repeatedly infringe other people's intellectual property rights,
25        we will disable your account when appropriate." Thus, we strongly urge you
26        to disable this account immediately.
27        (Dkt 53-13 at pages 943, 946, 951, 953, 956, 959, 962, 965, 968, 971, 973,
28        975, 977, 979, 981, and 988)(emphasis added)
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 1        The blank space in the above form statement are part of a “template” used by
 2 Okularity’s software. (Declaration of Robert Tauler [“Tauler Dec.”] Ex. C [selected
 3 portions of deposition of Jon Nicolini] at 40:13-41:3) The software automatically
 4 generates a number for each DMCA Notice after the third submission to a targeted
 5 account (Tauler Dec., Ex. C at 42:2-43:25).
 6        Okularity’s software “searches for offending photographs” then “compare[s] it
 7 against the photographs owned by the photo agencies” (Tauler Dec., Ex. C at 36:6-). As
 8 to Paper Magazine, Nicolini made it so that “each time Paper posts [on Instagram], the
 9 software will look at the post and determine whether or not it matches a photograph
10 owned by a photo agency” (Tauler Dec., Ex. C at 31:14-19) From there, the software
11 engages what is known as a “command-line-driven script” to automatically generate and
12 submit notices, such that Nicolini does not even need to hit “send.” (Tauler Dec., Ex. C at
13 95:15-96: 4)
14        ENTTech had no reason to suspect its Instagram was being targeted by Okularity
15 using automated processes as just described. Nicolini never made any attempt to notify
16 ENTTech of the alleged infringement claims despite demanding that their Instagram be
17 taken down on dozens of occasions because it “never occurred” to him. (Tauler Dec., Ex.
18 C at 79:13-21) Eventually, ENTTech’s Paper Magazine Instagram account was disabled
19 because of Defendants DMCA Notices (TAC ¶ 29).
20        Stunned at the prospect of losing their asset, ENTTech reached out to Nicolini
21 asking what it would take to get their asset back. Id. Nicolini suggested that thirty-one
22 photos then at issue could “fetch” $150,000 each, for a total of $4.65 million in
23 “damages” under the Copyright Act. TAC, ¶ 30. Sixteen minutes later, Nicolini
24 announced his authority to communicate on behalf of his “clients” – expressly invoking
25 Rule 408 of the Federal Rules of Evidence – to settle with ENTTech for $1.01 million.
26 TAC, ¶ 31. In exchange for the million dollar “settlement,” Okularity, through Nicolini,
27 offered to induce Instagram to reinstate ENTTech’s Instagram account. TAC, ¶ 23.
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 1        The same day, Tauler was retained to investigate. From July 8 until July 15, when
 2 the original complaint was filed, Tauler Smith spent a total of 57.80 hours researching
 3 and developing the case according to billing records maintained by the firm. (Tauler
 4 Dec., Ex. G) Westlaw records indicate that over 150 factual and legal documents and
 5 searches were conducted. Legal records were discovered as part of this research
 6 reviewing Defendants’ previous copyright disputes. (Tauler Dec., ¶ 2). This research
 7 led to the discovery of numerous facts pertinent to the claims in this case..
 8        First, Tauler learned that, despite its designation as a copyright “agent,” Nicolini
 9 and Okularity have no formal legal training. Tauler discovered a 2012 declaration which
10 provided insight into his qualifications. (Tauler Dec., ¶ 3, Ex. B [the “Nicolini 2012
11 Dec.”]) That declaration was filed by Nicolini in a litigation matter in the U.S. District
12 Court, District of Massachusetts. Id. In the 2012 declaration, Nicolini described his
13 background and prior role as “Chief Technology Officer” of something called “Copyright
14 Enforcement Group, LLC” (“CEG”). (Nicolini 2012 Dec. ¶ 1). Nicolini described in this
15 2012 declaration how CEG developed an automated system of issuing DMCA notices,
16 which he supervised. Id. ¶ 32. Again, Nicolini never stated, and does not now claim, to
17 have any legal training whatsoever, let alone any training as to what constitutes “fair
18 use.” Westlaw research also revealed Okularity’s role in advancing copyright claims
19 brought by Backgrid by sending demand letters and filing repeated lawsuits.(Tauler Dec.,
20 ¶ 2.
21        In addition to using Westlaw, Tauler downloaded at least two online articles about
22 Okulaity that bear date-stamps of when they were downloaded. The first, downloaded
23 July 9, 2020, stated that Okularity is “a company whose business it is to find copyright
24 protected images and video through special software.” (Tauler Dec., ¶ 5 Ex. D)
25        The second article, from InStyle Magazine, titled “Hundreds of Instagram
26 Accounts Have Been Shut Down Over Photos Like This,” downloaded on July 9, 2020,
27 refers to the growing phenomenon of social media account take-downs based on
28 Copyright claims and explicitly states “Accounts like these started getting deleted when
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 1 BackGrid started outsourcing its copyright enforcement to Okularity, a company that
 2 scans the Internet for the like when fan accounts share paparazzi photos they don’t own
 3 the rights to — which led to hundreds of accounts getting deleted last summer.” (Tauler
 4 Dec., ¶ 6 Ex. E)
 5        Okularity’s own website (downloaded July 12, 2020) states that it is
 6 “an image company” that has “spent years perfecting software designed to accurately and
 7 reliably and, match, and ultimately secure your likeness, images, photography, and video
 8 at little cost to you” (Tauler Dec., ¶ 7 Ex. F)
 9        Despite already conducting the above due diligence, Tauler spoke to Nicolini and
10 his counsel Peter Perkowski on the phone on July 14th. (Tauler Dec., ¶ 10 ) Counsel
11 inquired whether Okularity’s DMCA Notices are automatically generated by software.
12 (Tauler Dec., ¶ 10 ) Perkowski deferred to Nicolini to answer because he did not want to
13 answer as he was not involved. Contrary to Mr. Nicolini’s declaration, but consistent
14 with his deposition, Nicolini confirmed that indeed Okularity used software to take down
15 Paper Magazine’s Instagram account.
16        All of the above factual research made it abundantly clear that Nicolini did not and
17 could not make a good faith effort to review ENTTech’s Instagram posts in a manner
18 compliant with the DMCA he relied completely on software to determine ownership and
19 fair use, among other things. Even if Nicolini assessed each photo for fair use before
20 submitting DMCA notices (which is not alleged) his lack of legal training would make
21 him inadequate for the task, considering he does not reference any legal materials or
22 obtain any assistance from any third party when conducting his purported “analysis.”
23 (Dkt 63-1, Nicolini Dec. ¶¶ 4-5).
24        Tauler also reviewed a spreadsheet provided by Nicolini to ENTTech. (Tauler Dec.
25 ¶ 9). That spreadsheet is referenced in Nicolini’s declaration, filed in support of
26 Defendants’ motion (Dkt. 39-7, ¶8). The spreadsheet itself makes clear that DMCA
27 notices were transmitted on behalf of companies that do not appear to possess the
28 exclusive rights to the images references in the notices.
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 1     B. In Deposition, Nicolini Confirmed that he Lacks An Understanding of Fair
 2        Use and Could Not Have Conducted a Sufficient Analysis
 3        In deposition, Nicolini’s testimony confirmed Tauler’s observations that Nicolini
 4 does not possess even a minimal understanding of fair use and could not have adequately
 5 made a fair use determination in this case. When asked to summarize his understanding
 6 of fair use, Nicolini was at a complete loss. Nicolini could not name the elements of fair
 7 use.
           Q Okay. Do you know any of the four elements?
 8         A Yes.
           Q Can you name one?
 9         A A commercial use.
           Q Okay. So you believe commercial use is one
10         element of fair use?
           A Whether or not the use is commercial?
11         Q Okay. So that's one element. Do you know any
           others?
12         A The purpose.
           ...
13         Q Isn't that the same element?
           A I think how a photograph would be used.
14         Q Okay. Anything else?
           A How much of it is used.
15         Q Anything else?
           A Off the top of my head, no.
16   (Tauler Dec. ¶ 4, Ex. C at 9:18-10:11)
17        When asked about Nicolini’s education related to fair use, he could not recall a
18 single judicial opinion he had read or any legal research he conducted:
19        Q Have you ever looked at a legal opinion with respect to fair use in the
          copyright law?
20        A From a judge?
          Q Yes.
21        A I believe I have.
          Q Do you remember when that was?
22        A No.
          Q So five years ago? Ten years ago?
23        A I think it would be more recent than five years ago.
          Q Do you remember what the case was?
24        A It was about fair use.
          Q Do you remember the name of the case?
25        A No.
          Q Do you remember where the court was?
26        A I would think it was either the Ninth Circuit or a court here, locally.
          Q Do you remember what the case was about?
27        ...
          A No.
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 1 Id. at 14:1-14
 2        Nicolini had only a vague recollection of reading fair use literature in the past, but
 3 could not recall a single specific document that he read. Id. at 14. Nicolini attempted to
 4 engage in a fair use analysis at his deposition, and his lack of ability was laid bare when
 5 he attempted a fair use analysis in real time regarding an image at issue in this case,
 6 which was a popular meme several years ago:
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22        When questioned, Nicolini’s analysis was lacking:
23        Q   Okay. So what fair use analysis did you undertake for this photo?
24        A   Minimal commentary. The heart of the photo is there. Zendaya. The whole
25        photo was used. It's an exact copy of the photograph. And it's on a -- it's on a
26        Instagram account used to make money.
27 (Tauler Dec. ¶ 4, Ex. C at 58:18-23)
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 1        Nicolini is dead wrong of course, since courts have held that posting an image on a
 2 different platform is itself transformative and grounds alone to establish a complete fair
 3 use defense. Perfect 10, Inc. v. Amazon.com, Inc. (9th Cir. 2007) 508 F.3d 1146, 1164
 4 (use of images was a fair use primarily based on the transformative nature of a search
 5 engine platform).    Worse though is that Nicolini did not hit any of the four factors.
 6 Plainly Plaintiff posting a meme of Zendaya on its Instagram serves a different market
 7 function than paparazzi photographs sold to tabloids, which primarily depend on scarcity
 8 and timeliness for their value. Social media platforms on the other hand are designed to
 9 facilitate engagement and sharing of information, making use of photos in the manner
10 used by Plaintiff fair use. Other cases have seen the matter similarly and granted a fair
11 use defense as a matter of law for similar reasons. Peterman v. Republican National
12 Committee (D. Mont. 2019) 369 F.Supp.3d 1053, 1063 (“absent a complete suspension of
13 common sense, it must be assumed that the [claimants] would have welcomed reposts,
14 retweets, and other forms of appropriation by other [] social media users”);
15        Moreover, Nicolini did not consider here – or as to any image, whether Plaintiffs
16 use of the image had any “demonstrable effect upon the potential market for, or the value
17 of, the copyrighted work” Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S.
18 417, 450, 104 S.Ct. 774, 78 L.Ed.2d 574 (1984). Nicolini never communicated with the
19 Clearinghouse Defendants about the value of the images – the Clearinghouse Defendants
20 don’t even know what images were at issue in this case because they deal with “millions
21 of images.” (Exhibit I, Ginsberg Depo at 19:17-21). The Clearinghouse Defendants
22 based their settlement offers only on the fact that they had the power to give Plaintiff it’s
23 asset back if they paid an arbitrary sum, not on market value or artistic merit of the
24 images. (Exhibit I, Ginsberg Depo at 33:24-34:7; 35:10-36:2). Nicolini obviously could
25 not have considered the impact on the market for any photo because he did know, and did
26 not have access to any information regarding the value of the photos.
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 1            Nicolini’s consideration of fair use is woefully inadequate for a purported
 2 designated copyright agent. Shown above, Nicolini could not have performed a sufficient
 3 fair use analysis before certifying each DMCA notice.
 4         C. Nicolini Confirms at his Deposition that Okularity Employs an Automated
 5            System to Request Instagram Account Deactivation
 6         Nicolini also confirmed in deposition that Okularity employs an automated computer
 7 system to generate takedown notices and include language to request Instagram
 8 deactivation. According to Nicolini, the system automatically includes language
 9 requesting account deactivation after sending three notices relating to the same account:
10            Q So this is all a template, right?
              A The notices work off of a template. We insert relevant data points.
11 . . .
              Q Well, it sounds here like they've only infringed four photos and you already
12            want their account taken down. Right?
              A No.
13            Q How many had they infringed at this point?
              A Four.
14 . . .
              A That language is included if there's more than three.
15            Q Automatically, the system generates it, correct?
              A After I direct the system to generate it, yes.
16            Q Well, you -- you -- you created this system, correct?
              A Most of it, yes.
17            Q So you just stated that the system automatically generates this after three
              submissions. My question to you is why did you add that as a feature to the
18            software?
              A I'm not -- I don't recall. It may have been an instance where Instagram wasn't
19            removing content.
20 (Tauler Dec. ¶ 4, Ex. C at 41:4-43:13)
21         D. Nicolini’s Self-Serving and Conclusory Declaration does Nothing to Avail His
22            Ignorance of Fair Use.
23            Nicolini submitted a declaration on September 25, 2020. Nicolini’s testimony in
24 this declaration forms the basis of Defendants’ motion. (Dkt. 39-7). As part of that
25 Declaration, Nicolini states:
26            [B]efore sending each of the 35 DMCA takedown notices, I considered
27            whether ENTtech’s use of the photos may be fair use. In each instance, I
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                                                  10
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 1        concluded that fair use did not apply to any of the infringements by ENTtech
 2        for which I sent a notice.
 3 (Dkt. 39-7, ¶ 6).
 4        The declaration is entirely conclusory, as Nicolini does not describe what he means
 5 by “fair use.” Notably absent from the Declaration is any foundation of Nicolini’s
 6 understanding of fair use, education on the subject, or background relating to his ability
 7 to make such determinations.
 8        The declaration does not provide any detail as to the analysis Nicolini conducted to
 9 reach his conclusion. Nicolini fails to describe a single reason why he concluded any one
10 of the 35 photographs did not qualify for fair use. As with the July 14, 2020 phone call
11 with Tauler, and confirmed in his depositions, Nicolini’s declaration paints a broad
12 generalization of the Instagram posts pictures without any meaningful fair use analysis to
13 any of them.
14                                        III.   ARGUMENT
15     A. Defendants’ Motion is a Thinly Veiled and Improper Discovery Device
16        “Rule 11 should not be used to raise issues as to the legal sufficiency of a claim or
17 defense that more appropriately can be disposed of by a motion to dismiss, a motion for
18 judgment on the pleadings, a motion for summary judgment, or a trial on the merits.” 5A
19 Wright & Miller, et al., Federal Practice and Procedure: Civil § 1335 (4th ed. & Supp.
20 2020) (footnote omitted). Accordingly:
21        Courts should, and often do, defer consideration of certain kinds of sanctions
22        motions until the end of [the litigation] to gain a full sense of the case and to
23        avoid unnecessary delay of disposition of the case on the merits. This is a
24        sensible practice where [as here] the thrust of the sanctions motion is that
25        institution of the case itself was improper.
26 Lichtenstein v. Consolidated Serv. Group, Inc., 173 F.3d 17, 23 (1st Cir. 1999); see also
27 Thomas v. Capital Security Servs., Inc., 836 F.2d 866, 878 (5th Cir. 1988) (citing
28 William W. Schwarzer, Sanctions Under the New Federal Rule 11 – A Closer Look, 104
                                               11
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 1 F.R.D. 181, 204 (1985)); Donaldson v. Clark, 819 F.2d 1551, 1555 (11th Cir. 1987).
 2 Thus, “[a]lthough dismissal of baseless claims is theoretically available under Rule 11, it
 3 is better to deal with those arguments on the merits under a rule like Rule 56.” Marble
 4 Bridge Funding Grp. v. Liquid Capital Exch., Inc., 2016 U.S. Dist. LEXIS 75545, *5-6
 5 (N.D. Cal. June 8, 2016) (quoting In re New Motor Vehicles Canadian Exp. Antitrust
 6 Litig., 244 F.R.D. 70, 74 (D. Me. 2007)).
 7        By ignoring that hornbook principle, the motion (on its face) violates the intent of
 8 Rule 11’s own drafters. The 1983 drafters expressly “anticipated that in the case of
 9 pleadings the sanctions issue under Rule 11 normally will be determined at the end of the
10 litigation ….” Fed. R. Civ. P. 11, Notes of Advisory Committee on 1983 Amendments.
11 This case is still at its beginning. See Order Setting Scheduling Conference (Dkt. 36).
12 Ten years after the landmark 1983 amendments to Rule 11, the drafters emphasized that:
13        Rule 11 motions … should not be employed as a discovery device or to test
14        the legal sufficiency or efficacy of allegations in the pleadings; other
15        motions are available for those purposes. Nor should Rule 11 motions be
16        prepared to emphasize the merits of a party’s position, … to create a conflict
17        of interest between attorney and client, or to seek disclosure of matters
18        otherwise protected by the attorney-client privilege or the work-product
19        doctrine.
20 Fed. R. Civ. P. 11, Notes of Advisory Committee on 1993 Amendments. Violating those
21 principles, Defendants merely rush prematurely to pursue the two-prong Rule 11 test of
22 Holgate v. Baldwin, 25 F.3d 671, 676 (9th Cir. 2005) – “(1) whether the complaint is
23 legally or factually baseless from an objective perspective, and (2) if the attorney has
24 conducted a reasonable and competent inquiry before signing and filing it” – without first
25 getting any discovery to learn the actual (and non-privileged) basis for ENTTech’s
26 allegations, and without bothering to obtain the Court’s rulings on any of the “other
27 motions that are available” to challenge those allegations, such as moving for summary
28 judgment under Rule 56.
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 1        The Court addressed challenges raised by Defendants under Rule 12(b)(6). See
 2 Order Re Defendants’ Motion to Dismiss (Dkt. 40) (partly denying the motion to dismiss,
 3 and partly dismissing the FAC with leave for amendment by ENTTech). Their request to
 4 apply the two-part Rule 11 test now is (itself) objectively frivolous, because:
 5        [a]pplying that test is not feasible at this stage of the litigation, as it is not
 6        possible to determine on this record if the allegations in the complaint are
 7        objectively frivolous in view of the law and facts, whether Plaintiff and its
 8        counsel should have been aware that the allegations were frivolous after
 9        making a reasonable inquiry, and whether [Plaintiff’s complaint] is baseless.
10 Almeida v. Bennet Auto Supply, Inc., 335 F.R.D. 463, 466 (S.D. Fla. 2020) (citations and
11 quotation marks omitted). Objectively, that is not yet feasible, precisely because the
12 parties have not yet conducted any discovery and because (as a result) the Court has not
13 yet finally decided the merits of ENTTech’s claims nor any defenses to those claims.
14     B. The TAC Accurately Alleges Okularity’s Deficient Fair Use Analysis
15        Defendants’ main argument revolves around the allegations in the TAC that
16 Okularity’s fair use analysis was deficient, and seek sanctions because “Tauler has now
17 been informed no fewer than three times that Okularity considered fair use before
18 sending DMCA takedown notices.” (Dkt. 63 at 3.) Defendants have no feasible basis for
19 asking the Court to assess the factual investigation undertaken by ENTTech’s counsel
20 Mr. Tauler before signing the TAC, because Defendants have not sought or obtained any
21 discovery concerning the investigation that Mr. Tauler conducted. Instead, Defendants
22 rely entirely upon Nicolini’s self-serving declaration. Defendants’ argument fails for a
23 number of reasons.
24        First, Defendants’ claim that “Okularity considered fair use” is false on its face. A
25 copyright agent, such as Okularity and Nicolini, must make a full and adequate fair use
26 determination for each DMCA notice transmitted. An agent that does not conduct a
27 complete fair use analysis is subject to liability under Section 512(f). Lenz, 815 F.3d at
28 1154 (“To be clear, if a copyright holder ignores or neglects our unequivocal holding that
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 1 it must consider fair use before sending a takedown notification, it is liable for damages
 2 under § 512(f). . . . A copyright holder who pays lip service to the consideration of fair
 3 use by claiming it formed a good faith belief when there is evidence to the contrary is
 4 still subject to § 512(f) liability.”)
 5         Fair use requires a four factor analysis. Consideration of all four factors is
 6 mandatory for an adequate fair use analysis. 17 U.S.C. § 107 (“In determining whether
 7 the use made of a work in any particular case is a fair use the factors to be considered
 8 shall include . . .”); See L.A. News Serv. v. CBS Broad., Inc., 305 F.3d 924, 939 (9th
 9 Cir. 2002) (“Fair use requires individualized weighing of the equities of a given use of a
10 given work. The Copyright Act gives some shape to the inquiry, listing four mandatory
11 but nonexclusive factors.”) (emphasis added); Fox News Network, LLC v. TVEyes, Inc.,
12 883 F.3d 169, 176 (2d Cir. 2018) (“The factors are non-exclusive, but consideration of
13 each is mandatory.”).
14         For example, in Pacific & S. Co. v. Duncan, 744 F.2d 1490 (11th Cir. 1984), the
15 Eleventh Circuit overturned a district court opinion that rejected a fair use defense
16 because the district court did not consider all four fair use factors. The Eleventh Circuit
17 held:
18         We agree with TV News Clips that the district court should have considered
19         the four factors set out in the statute. The statute uses mandatory language to
20         the effect that in a fair use determination, the "factors to be
21         considered shall include" (emphasis added) the four listed.
22 Id. at 1495.
23         Described above, Nicolini lacked even a basic understanding of fair use. Nicolini
24 could not articulate the four fair use factors and could not provide a single example of a
25 course, legal case, or other educational material that he read to educate himself on fair
26 use. When asked how he applied fair use to the Instagram posts at issue in this matter,
27 Nicolini testified to a vague standard that, at best, touches on two of the four fair use
28 factors. As a designated “copyright agent” that submits thousands of takedown notices,
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 1 Nicolini’s complete lack of fair use education is particularly egregious. None of the
 2 copyright notices submitted by Nicolini could possibly have considered fair use, as
 3 Nicolini does not understand what an adequate “fair use” consideration entails.
 4        Second, Tauler’s investigation into the matter was adequate and extensive. Tauler
 5 spent extensive time researching Nicolini’s background and prior cases. (Tauler Dec., ¶
 6 2). Tauler also spoke on the phone with Nicolini, where it became apparent that he was
 7 uneducated in copyright and fair use law. (Tauler Dec., ¶ 10).Tauler also reviewed the
 8 Instagram posts at issue in this case, which contain commentary that would qualify for
 9 fair use protection. Tauler’s analysis, confirmed by Nicolini’s deposition, is more than
10 sufficient to form the basis of the allegations in the TAC.
11        Finally, Nicolini’s self-serving declaration does nothing to cure his defective fair
12 use understanding. The Declaration asserts that Nicolini conducted a “fair use” analysis
13 without any foundation, background, or description of what that entailed. As we learned
14 in Nicolini’s deposition, the analysis conducted was wholly inadequate. Nicolini’s
15 Declaration carries no evidentiary value and must be disregarded.
16     C. The TAC Properly Alleges Defendants’ Scheme
17        Pointing again to Nicolini’s self-serving and conclusory declaration, Defendants
18 argue that “[s]ince the allegations that fair use was not considered lack evidentiary
19 support, there is no evidentiary support that the DMCA notices were fraudulent or that
20 Defendants engaged in a scheme.” (Dkt. 63 at 6). In reality, there is ample evidence of a
21 scheme which has been amply detailed above.
22     D. The True Amount of Takedown Notices Cannot be Known Without Discovery
23        Defendants argue that “[t]here is no evidentiary support” for the amount of
24 takedown notices alleged in the TAC.” (Dkt. 63 at 7). The TAC alleges that Okularity
25 filed “at least thirty-four (34)” takedown notices and “possibly as many as (48) such
26 notices, or more . . .” TAC ¶ 34. Defendants again point to Nicolini’s self serving
27 declaration as “evidence” that “there were only 35” notices. (Dkt. 63 at 7).
28
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 1        Defendants’ arguments on this point serve no purpose. Discovery has not
 2 commenced, and ENTTech could not know the full extent of Okularity’s conduct at this
 3 stage of the case. Defendants admit that the TAC’s allegations of “at least thirty-four”
 4 takedown notices, because defendants claim to have submitted 35. Further, Defendants
 5 do not deny that Nicolini himself refused to provide Tauler with any of the DMCA
 6 notices. See TAC ¶ 33. Instead, Nicolini sent ENTTech executives a spreadsheet
 7 containing 51 rows of information that supposedly provide support for the DMCA
 8 notices. See Nicolini Dec., Exhibit B (Dkt. 39-9). Three of those rows are duplicates of
 9 other rows in the spreadsheet, which leaves 48 unique DMCA claims, according to
10 Nicolini’s own spreadsheet. As Nicolini concedes, “Mr. Tauler even incorporated
11 information from the spreadsheet into the lawsuit.” Nicolini Dec., ¶ 8. The ultimate
12 amount of notices will be uncovered through discovery and Defendants’ liability will be
13 based on the accurate amount of notices submitted.
14     E. Defendants Improperly Attempt to Turn this Motion into a Summary
15        Judgment Motion
16        In a procedurally improper argument, and without providing evidence in support,
17 Defendants argue that “the TAC includes newly sanctionable allegations” which
18 “concern the Photo Agencies’ right to enforce their copyrights in the images.” (Dkt. 63 at
19 8). Defendants seek sactions because “the new theory – that somehow the Photo
20 Agencies’ right to enforce the copyrights is in question – has no factual support.” (Dkt.
21 63 at 9).
22        Defendants’ argument has no place in a Rule 11 motion, because it addresses the
23 merits of the case and factual issues that will be addressed during discovery. “[U]nlike a
24 motion for summary judgment or other established means for addressing the merits of a
25 case, Rule 11 lacks a framework under which factual issues may be settled.” Ross v.
26 Mukasey, 2009 U.S. Dist. LEXIS 130020, * 5 (D. Colo. Nov. 24, 2009); see also Safe-
27 Strap Co., Inc. v. Koala Corp., 270 F. Supp. 2d 407, 417-21 (S.D.N.Y. 2003) (discussing
28 that Rule 11 sanctions are not a substitute for motions for summary judgment).
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 1        Moreover, it is undisputed that many of the photographs at issue in this matter
 2 were licensed to third parties. The TAC provides evidence that the photographs were
 3 licensed to Instagram. (TAC ¶ 50.) The extent of licenses granted for each photograph
 4 will be revealed in discovery, but some of these licenses may have been exclusive, which
 5 would usurp Defendants’ standing to bring this action. See Righthaven LLC v. Hoehn ,
 6 716 F.3d 1166, 1169 (9th Cir. 2013)(“Under the Copyright Act, only the ‘legal or
 7 beneficial owner of an exclusive right under a copyright’ has standing to sue for
 8 infringement of that right.”); Fathers & Daughters Nev., LLC v. Lingfu Zhang, 284 F.
 9 Supp. 3d 1160 (D. Or. 2018) (copyright owner of movie lacked standing to sue for
10 infringement after entering into an exclusive license with a sales agent.).
11        While the parties have not yet entered discovery and defendants have not provided
12 licensing or chain of title information for the copyright images at issue, ENTTech already
13 discovered that some of the images were potentially licensed to third parties in exclusive
14 distribution arrangements. For example Nicolini admitted during deposition that he
15 transmitted a DMCA notice for one of the images at issue on behalf of a distributor
16 Backgrid UK, which is not a party to this action, but held (and may currently hold) an
17 exclusive distribution license to one of the photographs:
18        Q So then how did you come to learn that the ownership had been transferred
          from Backgrid U.K. to . . . to Xposure?
19        A It was not.
          Q Oh. So you didn't know, at any point, that the DMCA notices you sent on
20        behalf of Backgrid U.K. were transferred to . . . Xposure?
          ...
21        A I believe, as we've already talked about multiple times, Xposure is the
          copyright holder, and Backgrid London is the exclusive distributor.
22        Q So why didn't you send these on behalf of Xposure?
          ...
23        A I don't have an answer for you.
          Q You don't know why?
24        A Not off the top of my head, no.
25 (Tauler Dec. ¶ 6, Ex. C at Pages 100-101)
26        Defendants’ arguments are entirely inappropriate for a Rule 11 motion, as they
27 seek to dismiss claims prior to discovery and without providing complete evidence.
28 Defendants seek to put an impossible burden on ENTTech to prove Defendants’ own
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 1 exclusive copyright ownership in the pictures at issue ENTTech’s allegations in the
 2 complaint are well pled and based on sufficient research and knowledge.
 3     F. ENTTech’s Prior Complaints are Superseded by the TAC and Irrelevant.
 4        In a final baseless argument, Defendants argue that ENTTech’s amendment of the
 5 complaint was somehow a tacit admission “that prior pleadings are sanctionable.” (Dkt.
 6 63 at 12). It is “hornbook law” that an amended complaint supersedes the prior
 7 complaint. See Lacey v. Maricopa Cnty., 693 F.3d 896, 925 (9th Cir. 2012). “Once a
 8 plaintiff files an amended complaint, the original pleading no longer serves any function
 9 in the case.”; Bullen v. De Bretteville, 239 F.2d 824, 833 (9th Cir. 1956) ( "[A]n amended
10 pleading supersedes the original, the latter being treated thereafter as non-existent . . .
11 .Once amended, the original no longer performs any function as a pleading."); see also
12 Hal Roach Studios, Inc. v. Richard Feiner and Co., Inc., 896 F.2d 1542, 1546 (9th Cir.
13 1989) (an amended pleading supersedes the original); Loux v. Rhay, 375 F.2d 55, 57 (9th
14 Cir. 1967) (same).
15        All citations to prior amendments of the complaint serve no purpose and fly in the
16 face of well-established law that prior amendments must be disregarded. Defendants
17 simply cannot attempt to argue the veracity of pleadings that are legally “non-existant.”
18 Bullen, 239 F.2d at 833. At the same time, Defendants improper arguments in this regard
19 provide further evidence that the Rule 11 motion is frivolous and Defendants must be
20 sanctioned accordingly.
21                                        IV.    CONCLUSION
22        The Defendants’ motion for sanctions is objectively frivolous, and it was filed for
23 the very same improper purposes that Rule 11’s drafters warned against: “as a discovery
24 device” hoping to learn more about the factual basis for ENTTech’s claims, while also
25 aiming “to emphasize the merits of [their own] position,” and “seek[ing] disclosure of
26 matters otherwise protected by the attorney-client privilege or the work-product
27 doctrine” concerning the factual investigation by Tauler. See Fed. R. Civ. P. 11, Notes
28 of Advisory Committee on 1993 Amendments.
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1        Therefore, the attorney’s fees reasonably incurred by ENTTech in opposing the
2 motion should be imposed against Defendants and their counsels who signed the motion
3 papers, under Rule 11(c)(2) (“[i]f warranted, the court may award to the prevailing party
4 the reasonable expenses, including attorney’s fees, incurred for the motion.”).
5
6
7 DATED: January 6, 2021                 TAULER SMITH LLP
8
9                                               By:   /s/ Robert Tauler
                                                      Robert Tauler
10
                                                Attorneys for Plaintiff
11                                              ENTTech Media Group LLC, and
                                                for Counsel Robert Tauler, Esq. and
12                                              Tauler Smith LLP
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1                             CERTIFICATE OF SERVICE
2       I hereby certify that on January 6, 2021, copies of the foregoing document were
3 served by the Court’s CM/ECF system to all counsel of record in this action.
4
5 DATED: January 6, 2021                TAULER SMITH LLP
6
7                                             By:    /s/ Robert Tauler
                                                     Robert Tauler
8
                                              Attorneys for Plaintiff
9                                             ENTTech Media Group LLC, and
                                              for Counsel Robert Tauler, Esq. and
10                                            Tauler Smith LLP
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